        Case 5:22-cr-00105-BLF          Document 1-1        Filed 03/10/22        Page 1 of 1




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA


                             CRIMINAL COVER SHEET
Instructions: Effective November 1, 2016, this Criminal Cover Sheet must be completed and submitted,
along with the Defendant Information Form, for each new criminal case.


 CASE NAME:                                                CASE NUMBER:
 USA V.                                                             CR
           SCOTT SHAW                                                      CR 22-00105-MAG
 Is This Case Under Seal?                       Yes       No ✔

 Total Number of Defendants:                       1 ✔ 2-7            8 or more

 Does this case involve ONLY charges
                                                Yes       No   ✔
 under 8 U.S.C. § 1325 and/or 1326?

 Venue (Per Crim. L.R. 18-1):                    SF       OAK         SJ   ✔

 Is this a potential high-cost case?            Yes       No ✔

 Is any defendant charged with
                                                Yes       No ✔
 a death-penalty-eligible crime?

 Is this a RICO Act gang case?                  Yes       No ✔

 Assigned AUSA
                                                          Date Submitted: 03/10/2022
 (Lead Attorney): MICHAEL G. PITMAN

 Comments:




                                                               RESET FORM              SAVE PDF
Form CAND-CRIM-COVER (Rev. 11/16)
